           Case: 4:19-cr-00601-SRC-PLC Doc. #: 1 Filed: 07/30/19 Page: 1 of 1 PageID #: 1
 AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                        FILED
                                                                  for the
                                                                                                                    JUL 3 0 2019
                                                EASTERN DISTRICT OF MISSOURI
                                                                                                                 U. S. DISTRICT COURT
                                                                                                               EASTERN DISTRICT OF MO
                  United States of America                           )                                                  ST.LOUIS
                                v.                                   )
                   ROLAND CRAWFORD
                                                                     )       Case No. 4:19 MJ 5251 NAB
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       JULY 30, 2019              in the county of            St. Louis City           in the
        Eastern        District of              Missouri         , the defendant(s) violated:
                                                                                   )

             Code Section                                                      Offense Description

18:922(g)                                         FELON IN POSSESSION OF A FIREARM




          This criminal complaint is based on these facts:
                                                       SEE ATTACHED AFFIDAVIT




          0 Continued on the attached sheet.


                                                                                          ~lainant 's signature
                                                                                       Special Agent William Meyers, FBI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


                  07/30/2019
Date:


City and state:                          St. Louis, Missouri                  onorable Nannet~.~- Baker, U.S. Magistrate Judge
                                                                                            - Printed name and title
